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1    JOSEPH SCHLESINGER, #87692
     Acting Federal Defender
2    ANGELES ZARAGOZA, #270198
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     ANGEL PANTOJA-LOPEZ
6
7                        IN THE UNITED STATES DISTRICT COURT
8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,          )   NO. CR. S-11-419-TLN
                                        )
11                    Plaintiff,        )   STIPULATION AND ORDER CONTINUING
                                        )   STATUS CONFERENCE AND EXCLUDING
12             v.                       )   TIME
                                        )
13   SARAVY YEM, et al.,                )   DATE: July 11, 2013
                                        )   TIME: 9:30 a.m.
14                    Defendants.       )   JUDGE: Hon. Troy L. Nunley
                                        )
15   _____________________________      )
16        ANGEL PANTOJA-LOPEZ by and through his counsel, ANGELES ZARAGOZA,
17   Assistant Federal Defender, SARAVY YEM, by and through his counsel,
18   DINA L. SANTOS and the United States Government, by and through its
19   counsel, MATTHEW G. MORRIS, Assistant United States Attorney, hereby
20   agree that the status conference set for May 15, 2013, be continued to
21   July 11, 2013, at 9:30 a.m..
22        This continuance is being requested because defense counsel
23   requires additional time to continue to research guideline issues and
24   review discovery, including numerous DVD’s which appear to be
25   surveillance videos, discuss the case with the government, and pursue
26   investigation.
27        Specifically, both defendant’s were Indicted on September 22,
28   2011, with one count of Conspiracy to Steal Mail and 60 counts of Mail
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1    Theft by a Postal Service Employee.          Additional investigation is
2    required, including the possibility of going to the scene of the
3    alleged thefts with both defendants which requires schedule
4    coordinating and travel for Mr. Pantoja-Lopez who currently resides in
5    San Diego.    Furthermore, the guidelines on these types of cases can be
6    very complicated to evaluate, particularly the potential loss amount
7    and the number of victims.       These main issues are currently being
8    researched by defense counsel.       Counsel for the defendants will
9    communicate with the government before the next status conference to
10   discuss any possible outstanding discovery and to discuss plea
11   negotiations, including guideline calculations.           This continuance is
12   necessary for the ongoing preparation of counsel. The parties
13   anticipate that this case will resolve without the need of a trial.
14        Counsel, along with the defendants, agree that the time from the
15   date of this order through July 11, 2013, should be excluded in
16   computing the time within which trial must commence under the Speedy
17   Trial Act, §§3161(h)(7)(A)and(B)(iv) and Local Code T4, [reasonable
18   time to prepare] and that the ends of justice served by this
19   continuance outweigh the best interests of the public and the
20   defendants in a speedy trial.
21   DATED: May 2, 2013                 Respectfully submitted,
22                                      JOSEPH SCHLESINGER
                                        Acting Federal Defender
23
                                        /S/ Angeles Zaragoza
24                                      ANGELES ZARAGOZA
                                        Assistant Federal Defender
25                                      Attorney for Defendant
                                        ANGEL PANTOJA-LOPEZ
26
27   / / /
28   / / /


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1
2                                     /S/ Angeles Zaragoza for
                                      DINA L. SANTOS
3                                     Attorney for SARAVY YEM
4
5    DATE: May 2, 2013                BENJAMIN B. WAGNER
                                      United States Attorney
6
7                                     /S/ Angeles Zaragoza for
                                      MATTHEW G. MORRIS
8                                     Assistant United States Attorney
9
                                       O R D E R
10
11
12        IT IS HEREBY ORDERED that this matter is continued to Wednesday,
13   July 11, 2013, at 9:30 a.m., for further Status Conference.
14          IT IS FURTHER ORDERED that pursuant to 18 U.S.C. §3161
15   (h)(7)(B)(iv) and Local Code T4, the period from the date of this
16   stipulation up to and including July 11, 2013, is excluded from the
17   time computations required by the Speedy Trial Act due to ongoing
18   preparation of counsel, and that the ends of justice served by this
19   continuance outweigh the best interests of the public and the
20   defendants in a speedy trial.
21
22   Dated: May 8, 2013
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26                                      Troy L. Nunley
                                        United States District Judge
27
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